An appeal may be determined in a District Court, at the term to which the record is brought up.The appellee has a right to bring up the record.THIS was an appeal from the District Court of Petersburgh.Braddick had obtained a judgment against Robertson on a forthcoming bond, in the County Court of Amelia; from which the latter appealed to the District Court, where, the cause being called in its turn on the docket, the counsel for the appellee opened the record, and moved for an affirmance of the judgment, in which there was no error. The counsel for the appellant objected to the Court’s hearing the cause at that time, alleging that the record had been brought up to that Court only, and by the appellee. But this objection was overruled by the District Court, and on an appeal to this Court,the judgment was affirmed.
 Judge Fleming was absent, from the commencement of this term, till the 4th of November, having been prevented from attending by indisposition.